                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

DAVID HAVERKAMP                                  §
TDCJ NO. 00702013                                §
           Plaintiff,                            §
                                                 §       Civil No. 2:17-CV-00018
v.                                               §       Jury Demand
                                                 §
JOSEPH PENN, et al.,                             §
          Defendants,                            §


            DEFENDANTS JOINT RULE 25(d) SUBSTITUTION OF PARTIES

               TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

        Defendants Owen Murray, Cynthia Jumper, F. Parker Hudson, John Mills, Ben Raimer, and

Lannette Linthicum, submit this substitution of parties pursuant to FED. R. CIV. P 25(d).

                                   STATEMENT OF THE CASE

        Plaintiff David Haverkamp brought suit against numerous individuals seeking prospective

injunctive relief. The proper defendants able to grant the relief Haverkamp seeks were previously

identified as the members of the Correctional Managed Health Care Committee. ECF Nos. 70, 71,

73. In March of 2018, when the advisory was filed, the committee was comprised of the following

individuals: Ben Raimer M.D., Owen Murray D.O., Cynthia Jumper M.D., F. Parker Hudson M.D.,

Tamela Griffin, John Mills D.O., Margarita de la Garza-Grahm M.D., Harold Berenzweig M.D.,

Elizabeth Ann Linder M.D., Mary Annette Gary D.O., and Lannette Linthicum M.D..1 All defendants

are sued in their official capacity as members of the CMHCC and only in that capacity.




1
 Margarita de la Garza-Grahm, Harold Berenzweig, Elizabeth Ann Linder, Tamela Griffin and Mary Annette
Gary, have not yet made appearances in this matter. These individuals were leaving or subsequently left the
CMHCC and their replacements had yet to be determined when the Magistrate issued her report and
recommendation.
                          MOTION TO SUBSTITUTE DEFENDANTS

       As of April 7, 2020, the CMHCC is comprised of the following individuals:

   1. Lannette Linthicum

   2. Cynthia Jumper

   3. F. Parker Hudson

   4. Rodney Burrow

   5. Preston Johnson, Jr.

   6. Philip Keiser

   7. John Burruss

   8. Erin Wyrick

   9. Jeffrey Beeson

   10. Dee Budgewater

       Ben Raimer, Owen Murray, John Mills, Margarita de la Garza-Grahm, Harold Berenzweig,

Elizabeth Ann Linder, Tamela Griffin and Mary Annette Gary are no longer on the committee.

       Pursuant to FED. R. CIV. P 25(d), Defendants seek to substitute the following parties to this

cause of action:

       Rodney Burrow, Preston Johnson, Jr., Philip Keiser, John Burruss, Erin Wyrick, Jeffrey

Beeson and Dee Budgewater will be substituted as defendants for Owen Murray, John Mills, Ben

Raimer, Margarita de la Garza-Grahm, Harold Berenzweig, Elizabeth Ann Linder, and Mary Annette

Gary. The claims against them are in their official capacity for prospective injunctive relief only. For

clarity, Defendants seek an order of dismissal of all claims against Ben Raimer, Margarita de la Garza-
Grahm, Harold Berenzweig, Elizabeth Ann Linder, Tamela Griffin, Mary Annette Gary, Owen

Murray, and John Mills.2

        The remaining Defendants would ask the court for 30 days from the date of the substitution

to obtain requests for representation from the seven newly substituted defendants and file an

appropriate answer or pleading to Plaintiff’s claims.

                                                PRAYER

        Defendants pray this Court recognize the aforementioned substitution of parties, enter an

order dismissing the improper parties, and allow for 30 days to obtain authority to represent the newly

substituted defendants and answer on their behalf.

                                                 Respectfully submitted,

                                                 KEN PAXTON
                                                 Attorney General of Texas

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                                                 First Assistant Attorney General

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                                                 /s/ BRUCE R. GARCIA
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2 It is unclear as to whether Dr. Joseph Penn is still a Defendant. The Court ordered Plaintiff to amend the
complaint to include only the CMHCC members, which Plaintiff did on October 5, 2017. ECF No. 70, 71. The
Court then entered a Show Cause Order to Plaintiff as to why Dr. Penn should not be dismissed. ECF No. 72.
The Court then ordered service on all CMHCC principal members but did not formally dismiss Dr. Penn in an
Order. ECF No. 73. Pacer lists Dr. Penn as terminated on October 5, 2017, but Defendants seek clarification
as to his termination from this suit.
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                              NOTICE OF ELECTRONIC FILING

        I, BRUCE R. GARCIA, Assistant Attorney General of Texas, certify that I have electronically

submitted for filing a true and correct copy of the above and foregoing, Defendants’ Joint Rule

25(d) Substitution of Parties, in accordance with the Electronic Case Files system of the Southern

District of Texas on this 8th day of April 2020.

                                                   /s/ BRUCE R. GARCIA
                                                   BRUCE R. GARCIA
                                                   Assistant Attorney General




                                   CERTIFICATE OF SERVICE

        I, BRUCE R. GARCIA, Assistant Attorney General of Texas, certify that counsel of record

are served with the foregoing via the Southern District Electronic Case File System and that I have

served Plaintiff with a true and correct copy of Defendants’ Joint Rule 25(d) Substitution of

Parties by placing in the U.S. Mail, certified, on this 8th day of April 2020, addressed to:

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                                                   /s/ BRUCE R. GARCIA
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